Case 2:13-cr-20600-PDB-DRG ECF No. 76 filed 02/24/14 PagelD.800

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
UNITED STATES OF AMERICA,
Plaintiff, CRIM. CASE NO. 13-20600
v. PAUL D. BORMAN

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UNITED STATES DISTRICT JUDGE

DR. FARID FATA

Defendant.

 

ORDER IN RESPONSE TO DEFENDANT’S MEMORANDUM REGARDING
ISSUANCE OF SUBPOENAS TO HEALTH CARE PROVIDERS FOR ADDITIONAL
MEDICAL FILES OF VICTIM WITNESS PATIENTS THAT WILL BE CALLED BY

THE GOVERNMENT AT TRIAL

The Court, in response to Defendant’s Memorandum with an attached proposed subpoena

(Doc. #73), notes that Federal Rule of Criminal Procedure 17(c)(3) “Producing Documents and

Objects” in response to a subpoena, states:
1 Pp

After a[n] . . . indictment is filed, a subpoena requiring the
production of personal or confidential information about a victim
may be served on a third party only by Court order. Before
entering the order and unless there are exceptional circumstances,

the Court must require giving notice to the victim so that the victim
can move to quash or modify the subpoena, or otherwise object.

(emphasis added).

 

This provision was added in 2008 to implement the Crime Victims Rights Act:

“Third party subpoenas raise special concerns because a third party
may not assert the victim’s interests, and the victim may be
unaware of the subpoena .. . ‘the phrase personal or confidential
information,’ which may include such things as medical or school
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records, is left to case development. . . . The rule recognizes,
however, that there may be exceptional circumstances in which this
procedure may not be appropriate.

Given the aforequoted language, the Court proposes that Defendant also be required to
serve the subpoena on the patient/victim so that he/she has an opportunity to object in court. In
addition, the Court proposes that the return date on the subpoena be delayed for two weeks from
the date of service to provide the patient/victim with time to object.

If Defendant disagrees with this proposal, the Court will set an immediate hearing on this
issue. If there is no disagreement, provide a new proposed subpoena to the Court. Please

respond to this Order by March 2, 2014.

SO ORDERED.

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PAUL D. BORMAN
UNITED STATES DISTRICT JUDGE

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